            IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF ALABAMA
                     NORTHERN DIVISION

 TREVA THOMPSON, et. al.,              )
                                       )
            Plaintiffs,                )
                                       )      CIVIL ACTION NO.
      v.                               )      2:16-cv-783-WKW
                                       )
 STATE OF ALABAMA, et. al.,            )
                                       )
            Defendants.                )

MOTION FOR PRELIMINARY INJUNCTION AND BRIEF IN SUPPORT

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                                 INTRODUCTION

       Since 1996, Alabama has disenfranchised thousands of eligible voters under

an arbitrary and discriminatory standard. As state officials, including Defendant

Merrill, have repeatedly acknowledged, the prior system required individual county

registrars to make subjective and contradictory determinations of citizens’ eligibility

to vote on an ad hoc basis. On May 25, Governor Ivey signed the Felony Voter

Disqualification Act, House Bill 282 (“HB 282”), which seeks to put an end to this

unconstitutional system by establishing a comprehensive list of crimes that “involve

moral turpitude.” 2017 Ala. Laws Act 2017-378 (attached as Ex. A). HB 282 has the

potential to restore access to the franchise for thousands of eligible voters who should

never have been denied their rights in the first place.

       But without a few key actions by the State, many of these voters will continue

to suffer the harms of Alabama’s prior unconstitutional scheme and will be denied

meaningful relief. After all, thousands of eligible voters have been affirmatively

denied the right to vote under the unconstitutional system. As far as these citizens

are concerned, nothing has changed. The State told each of them they could not

register, and the State has not since told them otherwise. Under these circumstances,

enfranchising voters on the pages of the Alabama State Code is not enough to remedy

the harm. Defendants must ensure that they are enfranchised on the pages of the

State’s voter rolls as well.

       Yet Defendants have refused to take any meaningful action to implement HB

282 and advise voters of their rights, including publicizing the new eligibility




                                           1
requirements on the Secretary of State’s website, updating voter registration forms,

or issuing guidance to registrars. The next statewide election in Alabama is the

special primary election for United States Senator on August 15, 2017. The

registration deadline is July 31, 2017. Absent immediate relief from this Court,

thousands of eligible voters risk losing the opportunity to vote in yet another election.

      This motion for a preliminary injunction seeks relief solely for those voters

whose voting rights under Section 177 of the Constitution have been affirmed by HB

282 (hereinafter “HB 282 voters”). Given the urgency of the upcoming deadline,

Plaintiffs have also filed a concurrent motion to shorten Defendants’ time to respond

to one week, due July 7, 2017, and request that the Court set a hearing during the

week of July 10, 2017 as soon as is practicable.

      Pursuant to Federal Rule of Civil Procedure 65, Plaintiffs ask this Court to

issue a preliminary injunction ordering Defendants to provide the following

immediate and sensible relief to implement HB 282 and remedy the State’s prior

unlawful disenfranchisement of HB 282 voters:

      (1) Provide notice of HB 282’s voting eligibility standards on the Alabama

          Voter Registration Form and submit a change to the Election Assistance

          Commission to provide notice of HB 282’s voting eligibility standards in

          Alabama’s state-specific instructions on the Federal Voter Registration

          Form;




                                           2
         (2) Provide notice of HB 282’s voting eligibility standards on the Secretary of

             State’s website, and in any materials distributed by the Secretary of State

             regarding voting eligibility requirements;

         (3) Reinstate recently denied HB 282 voters—voters whose registration

             applications were wrongfully denied or who were wrongfully struck from

             the voter registration rolls in the last two years, and whose eligibility was

             affirmed by HB 282—to the voter registration rolls, and provide them with

             individual notice of their eligibility to vote;

         (4) Disclose all voter registration applicants and voter registrants denied the

             right to vote on the basis of conviction in the past two years;

         (5) Provide mandatory training regarding the proper implementation of HB

             282 for the upcoming imminent elections;1

         (6) Implement a public education plan that will adequately educate voters with

             convictions who have been previously misinformed about their voting rights

             by state officials of their eligibility to vote; and

         (7) Any other relief the Court deems just and proper.

Absent this relief, HB 282 cannot remedy the decades of misinformation and

confusion wrought by the vague moral turpitude standard.




1
 On June 30, 2017, Defendants’ counsel provided Plaintiffs with written guidance they have distributed to all
county registrars. Plaintiffs ’counsel have not had an opportunity to carefully review this guidance for substance but
Defendants’ counsel has stated that this written guidance on HB 282 was given to all registrars via email.
                                                          3
       The foregoing requests for relief only ask that the State ensure eligible voters

are informed of their right to vote and are provided meaningful access to the

franchise. Therefore, the public interest and balance of the equities weigh heavily in

favor of this sensible and tailored relief. See League of Women Voters of N.C. v. North

Carolina, 769 F.3d 224, 247–48 (4th Cir. 2014) (“By definition, ‘[t]he public interest

... favors permitting as many qualified voters to vote as possible.’” (quoting Obama

for Am. v. Husted, 697 F.3d 423, 437 (6th Cir. 2012) and citing Purcell v. Gonzalez,

549 U.S. 1, 4 (2006) (the public has a “strong interest in exercising the fundamental

political right to vote”))).

       This relief will impose no meaningful burden on Defendant Merrill. As the

State’s chief election officer, he has a responsibility to take many of these actions and

to provide guidance to voters and registrars regarding voter eligibility requirements.

The State has no valid interest in withholding this vital information from voters or

refusing notice to eligible voters previously misinformed of their rights. Ensuring that

all eligible voters have a meaningful opportunity to exercise the franchise is in accord

with the public interest, the mission of the Office of the Secretary of State, and the

explicit stated purpose of HB 282.

                                FACTUAL BACKGROUND2

       Before passing HB 282, Alabama had no uniform system for the

disenfranchisement of individuals with felony convictions. Individual county


2The factual allegations and legal framework underlying this motion are laid out in detail in the
complaint, Doc. 1, and the lengthy motion to dismiss briefing, Docs. 43, 48, before this Court. For
purposes of brevity, this brief focuses primarily on new facts relevant to the passage of HB 282 and
this motion.
                                                  4
registrars from 1996 until the present have been tasked with deciding on an ad hoc

basis whether convictions “involved moral turpitude,” leading to a system of entirely

arbitrary disenfranchisement in violation of the First and Fourteenth Amendments.

See Complaint, Doc. 1, Counts 6-10.

       If there were any doubt about this unconstitutional state of affairs, the text of

HB 282 and statements made by Defendant Merrill and state legislators leading up

to its passage erase it. HB 282 itself recognizes the arbitrariness of Alabama’s current

pre-HB 282 enforcement of Section 177’s disenfranchisement provision: “Under

general law, there is no comprehensive list of felonies that involve moral turpitude

which disqualify a person from exercising his or her right to vote. Neither individuals

with felony convictions nor election officials have a comprehensive, authoritative

source for determining if a felony conviction involves moral turpitude and is therefore

a disqualifying felony.” Ala. Code § 17-3-30.1(b)(1)(b) (as enacted by HB 282).

       In January 2016, in explaining the necessity of HB 282’s passage, Defendant

Secretary of State Merrill stated: “Right now, we have people in certain positions who

are determining the eligibility of citizens to vote based on nothing more than their

own interpretations of the law. That’s not right. It’s not fair.”3 Thus, Secretary Merrill

concluded that HB 282 was necessary to “protect the right to vote for citizens of the

state.”4 On May 24, 2017, he further explained the past unconstitutional system: “For

example marijuana possession, they might list that as a crime of moral turpitude,


3 Josh Moon, Committee working to restore felons’ voting rights, Montgomery Advertiser, Jan. 23,
2016, http://www.montgomeryadvertiser.com/story/news/local/blogs/moonblog/2016/01/23/committee-
working-restore-felons-voting-rights/79089626.
4 Id.


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whereas only distribution of that drug or that substance would really be considered

a crime of moral turpitude.”5 After the law passed, Secretary Merrill said it was

necessary because “registrars and election officials . . . don’t know what a crime of

moral turpitude is because different people have different interpretations.”6

       One of the main sponsors of the bill, Senator Cam Ward, explained: “What

moral turpitude meant in Shelby County could have been something totally different

in Talladega County.”7 Other legislators reiterated the necessity of HB 282 in light

of the complete lack of uniformity in felony disenfranchisement:

              “[Registrars are] not sure whether they should sign them up to vote or
               not. . . . That has been a problem in this state for many years.” – Rep.
               Paul Lee (R-Dothan).8

              “Look at the constitution of 1901, there really was not a definition of
               moral turpitude. . . . . It was kind of lenient and open for interpretation,
               which led to a lot of individuals losing their voter rights. Some would
               say they shouldn’t have based on the crimes they committed.” – Rep.
               Chris Blackshear (R-District 80).9

              “As a result, boards of registrars across the state had their own
               definitions of moral turpitude. We needed to make it uniform.” – Rep
               Mike Jones (R-Andalusia).10


5 New law clears up voting confusion for Alabamians with a felony, WSFA 12, May 24, 2017,
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       Secretary Merrill confirmed repeatedly that the law was “not clear” and left

the decisions regarding citizens’ right to vote “up to the Board of Registrars”; that

such uncertainty should not exist “when it comes to people being able to vote”;11 and

that the law “sowed confusion”12 which led to inconsistent results, such as the

improper disenfranchisement for certain drug crimes.13

       Recognizing this untenable system of disenfranchisement, Governor Ivey

signed HB 282 on May 25, 2017. HB 282 defines “felony involving moral turpitude”

for the first time and establishes that “a person is disqualified to vote” pursuant to

Section 177 of the Constitution only if convicted of one of 46 types of criminal offenses,

spanning from violent crimes such as murder, manslaughter, and rape, to property

crimes such as theft and robbery. The effective date of HB 282 is August 1, 2017. 2017

Ala. Laws Act 2017-378, at § 3. Therefore, it will be in effect for the next election in

Alabama, the August 15, 2017 special primary election for United States Senator.

       Yet, since the passage of HB 282, Defendant Merrill has refused to take any of

the steps necessary to remedy this prior unconstitutional system and ensure that all

eligible voters have meaningful access to the franchise. A month after passage of HB

282, even the most facile implementation steps––such as updates to the State’s

website and registrations––have not been taken. Secretary Merrill reportedly said

“he was unaware of people being wrongly told they couldn’t vote,” and that “he wasn’t




11 Jason Johnson, Felons play a role in Alabama's electorate, Lagniappe Weekly, Oct. 19, 2016,
https://lagniappemobile.com/felons-play-role-alabamas-electorate.
12 Kim Chandler, supra note 7.
13 New law clears up voting confusion for Alabamians with a felony, supra note 5.




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going to make an effort to focus on whose felony convictions will no longer disqualify

them.”14 He further stated: “I’m not going to spend state resources dedicating to

notifying a small percentage of individuals who at some point in the past may have

believed for whatever reason they were disenfranchised.”15

       The reason, of course, that many individuals “believed” they were

disenfranchised is that they were in fact disenfranchised: their voter registration

applications were rejected or their names were removed from the voter registration

rolls based on their convictions. In just the past several weeks, Plaintiffs’ counsel has

identified numerous eligible voters who were denied the right to vote under the prior

unconstitutional system.

       For example, John Doe16 has prior felony convictions—such as possession of a

forged instrument and possession of a controlled substance—that do not meet the

definition of “moral turpitude” in HB 282. Yet when Mr. Doe attempted to register to

vote in 2014, he received a letter from the Jefferson County Board of Registrars

informing him that he was not eligible to vote because he had been convicted of a

felony involving moral turpitude. See Ex. B.

       Likewise, Mark Irby was convicted of possession of a controlled substance, a

crime that does not involve moral turpitude under HB 282. He attempted to register

to vote in person before the 2004 election, but was informed that he had a




14 Sam Levine, Alabama Won’t Help Disenfranchised Citizens Understand If They Can Now Vote, June
21, 2017, http://www.huffingtonpost.com/entry/alabama-moral-turpitude_us_594a8335e4b0177d0b8a
f45f.
15 Id.
16 Name redacted for privacy.


                                               8
disqualifying felony conviction. Mr. Irby then applied for a Certificate of Eligibility to

Vote (“CERV”) in October 2013. In a bizarre response that only reinforces the

prevalent confusion, he received a letter from the Board of Pardons and Paroles

indicating that his crime was not one “involving moral turpitude”––but also that he

was not eligible to vote until his fines (for his non-disqualifying crime) were paid. See

Ex. C. Mr. Irby, an eligible voter without a disqualifying felony conviction, was twice

told by the state that he could not exercise his right to vote, and has been denied that

right in every election since at least 2004.

      In addition to these individuals, Plaintiffs’ counsel has already identified

nearly three dozen likely eligible voters who have been unlawfully denied the right

to vote. These are individuals with convictions for crimes that do not involve moral

turpitude under HB 282 but who have nontheless had their voter registration

applications denied on the basis of a “disqualifying” felony conviction. Several of these

individuals have attempted to have their rights restored through the CERV process,

but have not yet been able to register because their applications are still pending or

were rejected. This small sample, consisting of individuals who have had the support

of organizations like Greater Birmingham Ministries in navigating the registration

and CERV process, likely represents only the tip of the iceberg.

      Shortly after the passage of HB 282, Plaintiffs’ counsel sent opposing counsel

a letter requesting the above-outlined relief, indicating that Plaintiffs believed such

relief would resolve Counts 6-10 in this matter. See Ex. D. After two weeks, on June

23, 2017, opposing counsel indicated that the Secretary of State would not agree on


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any terms regarding the implementation of HB 282. Counsel met and conferred on

June 29, 2017 regarding this motion but Defendants could not commit to taking any

defined action to implement HB 282. Based on Secretary Merrill’s public statements

and counsel’s representations, it does not appear that he intends to engage in any

voter education about HB 282 outside of attending a few events paid for, organized,

and hosted by outside groups.

      A month after passage, the Secretary of State’s website does not include any

information about HB 282 or the specific felony convictions that now disqualify

otherwise eligible voters. See Ex. E. The Alabama voter registration form continues

to ask voters to affirm that they have not been convicted of a “disqualifying felony”

without further guidance, and the Alabama state-specific instructions for the federal

form still ask voters to affirm that they have not been convicted of a “felony involving

moral turpitude” without any information about the HB 282 crimes. See Exs. F, G.

Essentially, the only way that potential voters with convictions can determine their

eligibility to vote is to find the statute in the Alabama code or seek legal advice.

                                     ARGUMENT

      The decision to issue a preliminary injunction lies within the sound discretion

of the Court. Palmer v. Braun, 287 F.3d 1325, 1329 (11th Cir. 2002). To succeed on a

motion for a preliminary injunction, Plaintiffs must demonstrate:

      (1) [they have] a substantial likelihood of success on the merits; (2)
      irreparable injury will be suffered unless the injunction issues; (3) the
      threatened injury to the movant[s] outweighs whatever damage the
      proposed injunction may cause the opposing party; and (4) if issued, the
      injunction would not be adverse to the public interest.


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ACLU of Fla., Inc. v. Miami–Dade Cnty. Sch. Bd., 557 F.3d 1177, 1198 (11th Cir.

2009).

   I. Plaintiffs Are Likely to Succeed on the Merits of Their Claims of
      Arbitrary Disenfranchisement, Counts 6-10 of the Complaint.

         Plaintiffs are likely to succeed on the merits of their claims challenging

Alabama’s standardless enforcement of the “moral turpitude” provision of Section

177. It is beyond reasonable debate that a system of widespread, arbitrary, and

standardless disenfranchisement violates core First and Fourteenth Amendment

principles. Thus, Plaintiffs are likely to succeed on their claims that:

         (1) This standardless approach, coupled with the requirement that voters

affirm that they do not have a conviction for a “disqualifying felony” to register to

vote, imposed an undue burden on eligible voters with convictions because they could

not reasonably determine their eligibility to register to vote (Counts 6 and 7), see

Burdick v. Takushi, 504 U.S. 428, 434 (1992) (holding that when the right to vote is

“subjected to ‘severe’ restrictions, the regulation must be narrowly drawn to advance

a state interest of compelling importance”);

         (2) This standardless approach, administered by individual untrained

registrars without a pre-deprivation hearing, had a high risk of erroneous deprivation

of the fundamental right to vote and therefore violated potential voters’ procedural

due process rights (Count 8), see Mathews v. Eldridge, 424 U.S. 319, 335 (1976)

(holding that the procedural due process inquiry balances the nature of the right, the

risk of erroneous deprivation, and the government’s interests); Cleveland Bd. of Educ.

v. Loudermill, 470 U.S. 532, 542 (1985) (“[T]he root requirement of the Due Process

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Clause” is “that an individual be given an opportunity for a hearing before he is

deprived of any significant property interest.” (quotation marks omitted));

      (3) This standardless approach to the “moral turpitude” provision rendered it

unconstitutionally vague (Count 9), see Cramp v. Bd. of Pub. Instruction of Orange

Cty., Fla., 368 U.S. 278, 287 (1961) (“The vice of unconstitutional vagueness is further

aggravated where, as here, the statute in question operates to inhibit the exercise of

individual freedoms affirmatively protected by the Constitution.”); and

      (4) This standardless approach led to arbitrary disenfranchisement of voters

in violation of the core protections of the Equal Protection Clause (Count 10), see Bush

v. Gore, 531 U.S. 98, 105-06 (2000) (per curiam) (“The recount mechanisms . . . do not

satisfy the minimum requirement for nonarbitrary treatment of voters necessary to

secure the fundamental right. . . . The problem inheres in the absence of specific

standards to ensure its equal application.”), Williams v. Taylor, 677 F.2d 510, 516

(5th Cir. 1982) (“A state may make a completely arbitrary distinction between groups

of felons so as to work a denial of equal protection with respect to the right to vote

when it administers a statute, fair on its face, with an unequal hand.”).

      Plaintiffs detailed the well-established legal support for their constitutional

claims regarding the standardless enforcement of the “moral turpitude” provision in

their opposition to Defendants’ motion to dismiss and do not repeat it in full here. See

Opp. to Mot. to Dismiss, Doc. 48, at 34-68. Any possible factual doubts regarding the

lack of uniformity prior to HB 282 are conclusively resolved by HB 282’s

acknowledgment of the inadequacy of the prior system, as well as the statements by


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Defendant Merrill and by numerous legislators, including sponsors of HB 282. See

supra pages 6-7.

        Regardless of the precise reach of Richardson v. Ramirez, 418 U.S. 24 (1974),

it    cannot   possibly   excuse   the   widespread,   arbitrary,   and   standardless

disenfranchisement of individuals based on the inherently subjective determinations

of individual registrars that prevailed in Alabama for the last twenty years, see id. at

56 (remanding the question of whether California’s felony disenfranchisement

provision had “such a total lack of uniformity in county election officials’ enforcement

. . . as to work a separate denial of equal protection”). The Supreme Court has made

clear that felony disenfranchisement laws are still subject to Equal Protection Clause

scrutiny if they violate that clause’s anti-discrimination principle. See Hunter v.

Underwood, 471 U.S. 222, 233 (1985); see also Hobson v. Pow, 434 F. Supp. 362, 367

(N.D. Ala. 1977) (“No compelling, or even rational, state policy has been suggested to

explain why conviction of men for assault and battery against the spouse is a cause

for disqualification while the conviction of women for the same offense is not

disqualifying.”).

        Because Alabama’s system of disenfranchisement unquestionably—and

admittedly—led to the arbitrary deprivation of fundamental rights, Plaintiffs are

likely to succeed on their above-listed claims.

     II. The Requested Relief is Appropriate to Remedy the Harms of
         Alabama’s Unconstitutional System.

        HB 282 provides a roadmap for Alabama to correct the harms of its prior

unconstitutional system and extend the right to vote in a uniform manner. Yet HB

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282 alone cannot remedy these past wrongs. The requested relief is appropriate to

remedy the State’s erroneous deprivations of rights and ensure that HB 282 voters

have an equal opportunity to participate in this upcoming election and all future

elections. As detailed below, the requested relief is in accord with relief ordered by

other federal courts addressing similar claims.

      As with all voting violations, Alabama will never be able to remedy fully the

harms imposed by this decades-long unconstitutional system of disenfranchisement.

1 Voting Rights Act: Evidence of Continued Need, Hearing Before the Subcomm. on

the Constitution of the H. Comm. on the Judiciary, 109th Cong. 97 (2006) (noting that

harmed voters cannot change past electoral outcomes, and the benefits of incumbency

adhere to those elected under discriminatory procedures). Nonetheless, Plaintiffs are

entitled to an effective and meaningful remedy that seeks to place harmed voters in

“the position they would have occupied in the absence of [the unconstitutional

action].” United States v. Virginia, 518 U.S. 515, 547 (1996). This Court has broad

equitable powers to design an appropriate remedy for the harms imposed by this

system. Swann v. Charlotte-Mecklenburg Bd. of Ed., 402 U.S. 1, 15 (1971) (“Once a

right and a violation have been shown, the scope of a district court’s equitable powers

to remedy past wrongs is broad, for breadth and flexibility are inherent in equitable

remedies.”).

      By requiring Alabama to provide adequate notice and education to voters and

reinstate eligible voters previously unlawfully rejected by state officials, this Court




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can provide an equitable, reasonable, and tailored remedy for the constitutional

wrongs described above.


   1. Alabama Must Reinstate Recently Denied HB 282 Voters to the Voter
      Registration List.

      For eligible voters that were recently denied the right to vote based on their

convictions under the prior system, the most straightforward and direct remedy is

their reinstatement to the voter registration rolls and an accompanying notice of that

reinstatement. This would include all HB 282 eligible voters whose voter registration

applications were denied or whose names were purged from the voter registration list

in the last two years based on a felony conviction not listed in HB 282.

      While the harms clearly go back more than two years, the requested relief is

reasonably tailored based on the mandatory record-keeping requirements of the

National Voter Registration Act (“NVRA”). See 52 U.S.C. § 20507(i)(1) (requiring

maintenance of all voter registration records, including denials and purges, for at

least two years). Therefore, the Secretary of State must have these records available.

      Individualized restoration and notice is appropriate for these individuals

because they already took all the necessary steps to vote and yet were denied the

right to vote, after being told by the State (incorrectly) that their convictions were

disqualifying. See, e.g., Ex. B (notice to individual of disqualifying conviction). These

individuals should not have to take any further steps to register to vote and, given

the wrongful notices of disqualification they received, they will have no reason to

believe the State will allow them to vote absent corrective notice. In other words,

restoration of an erroneous deprivation of a right is meaningless if the individual is
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not advised of that restoration. See, e.g, United States v. Alabama, 857 F. Supp. 2d

1236, 1243 (M.D. Ala. 2012) (“[M]erely extending the deadline, or agreeing to accept

ballots after the State’s extended March 21 deadline, is ineffective if voters do not

know that ballots sent by [the] election date and received by March 31 will actually

be counted.”).

       For these reasons, courts in similar cases have ordered the reinstatement of

voters wrongfully excluded or removed from voter registration lists, accompanied by

adequate notice. Most applicably, in Hobson v. Pow—an Alabama felon

disenfranchisement case striking down the constitutional provision disenfranchising

those convicted of “assault and battery on the wife” on gender discrimination

grounds—the district court ordered the boards of registrars to “reinstate all voters

purged under the ‘assault and battery on the wife’ provision and to notify all members

of the plaintiff class who have been purged.” 434 F. Supp. at 368; see also N.C. St.

Conf. of the NAACP v. N.C. St. Bd. of Elections, No. 1:16-cv-1274, 2016 WL 6581284

(M.D.N.C. Nov. 4, 2016) (ordering the immediate restoration of all improperly purged

voters); U.S. Student Ass’n Found. v. Land, 585 F. Supp. 2d 925, 950 (E.D. Mich.

2008) (“What the defendants must do, however, is restore the cancelled registrations

to some status that will not by itself, as their current status does, require the rejection

of a ballot cast by these voters.”); Screen v. Bankston, 498 So. 2d 770, 772 (La. Ct.

App.), writ denied, 496 So. 2d 337 (La. 1986) (“[T]he Court makes the rule absolute

and issues herewith a writ of mandamus directing the defendant to restore the voter

registration and voting rights of all voters illegally removed from the registration


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records [and] directs the defendant to advertise these names appropriately . . . as

having been restored to the voting rolls.”); Consent Decree, Doc. 67-1, Ga. St. Conf. of

the NAACP v. Hancock Cnty. Bd. of Elections, No. 5:15-cv-414-CAR (M.D. Ga. Mar. 1,

2017) (agreeing to the restoration of improperly purged voters to the registration list

and the provision of individualized notice to those voters).

      Plaintiffs also request that Defendants disclose the list of all voter applicants

previously purged or denied based on convictions in the last two years, so that

Plaintiffs Greater Birmingham Ministries and class counsel can engage in further

targeted outreach and education to potentially affected HB 282 voters. Since these

records are both discoverable and subject to public disclosure pursuant to the NVRA,

this request imposes no additional burden on Defendants. 52 U.S.C. § 20507(i)(1)

(requiring public disclosure of “all records concerning the implementation of

programs and activities conducted for the purpose of ensuring the accuracy and

currency of official lists of eligible voters”); Project Vote/Voting for America, Inc. v.

Long, 682 F.3d 331, 336 (4th Cir. 2012) (holding that Section 8’s public disclosure

mandate “unmistakably encompasses completed voter registration applications”);

Project Vote, Inc. v. Kemp, 208 F. Supp. 3d 1320, 1342-43 (N.D. Ga. 2016) (requiring

the State to disclose data regarding changes in individual voter registration status,

letters to applicants regarding those changes in status, the “specific reason why

applicants” were rejected, and other individualized data).




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     2. Alabama Must Update Its Voting Materials to Advise Voters and
        Registrars of HB 282’s Eligibility Requirements.

       As discussed above, neither Alabama’s state nor federal voter registration form

has been updated to reflect HB 282’s eligibility criteria nor are those criteria available

anywhere on the Secretary of State’s AlabamaVotes.gov website. Indeed, the

Secretary of State has not issued any public guidance on HB 282’s eligibility criteria.

       Given the nature of the public and widespread harms caused by voting rights

violations, public education and notice requirements are a hallmark of voting rights

remedies. Veasey v. Abbott, 830 F.3d 216, 256, 271-72 (5th Cir. 2016) (noting “the

State’s lackluster educational efforts resulted in additional burdens on Texas voters”

and directing the district court to “consider the necessity of educational and training

efforts” in fashioning a remedy for the affected voters);17 United States v. Georgia, 892

F. Supp. 2d 1367, 1376 (N.D. Ga. 2012) (requiring a “public awareness campaign

through direct notice and use of certain media” to remedy violation of the Uniformed

and Overseas Citizens Absentee Voting Act of 1986); Alabama, 857 F. Supp. 2d at

1243 (“The court’s injunction requires broad notice be provided to inform, to the

greatest extent possible, UOCAVA voters that their ballots can be received by March

31 instead of March 21, as it stood before the court's order.”); Mo. St. Conf. of the

NAACP v. Ferguson-Florissant Sch. Dist., 219 F. Supp. 3d 949, 962 (E.D. Mo. 2016)




17On remand, Texas agreed to an interim order requiring Defendants to “develop a detailed voter
education plan, including timetables, for the November 2016 general election” requiring the
expenditure of at least 2.5 million dollars. Order Regarding Agreed Interim Plan for Elections,
Veasey v. Abbott, No. 2:13-CV-00193 at *3 (S.D. Tex. Aug. 10, 2016).
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(requiring a “comprehensive voter education program” as part of Section 2 Voting

Rights Act remedy).

      Plaintiffs’ request that Defendant Secretary of State take the necessary steps

to provide voter education sufficient to ensure that HB 282 can serve as a meaningful

remedy for the prior unconstitutional system of arbitrary disenfranchisement. First,

the Secretary of State must update the state and federal voter registration forms to

inform voters of HB 282’s eligibility requirements, so that voters can determine their

eligibility at the point of voter registration. As discussed above, the current forms

provide voters with convictions no better guidance on their eligibility than they did

before the passage of HB 282. They essentially require individuals to seek legal

counsel to register to vote. This is plainly untenable. The current forms perpetuate

the harms of a decades-long vague and arbitrary system. They also run afoul of the

NVRA’s requirement that registration forms state each eligibility requirement. 52

U.S.C. §§ 20504(c)(2)(C)(i), 20506(a)(6)(A)(i)(I), 20508(b)(2)(A).

      Second, Plaintiffs request that the Secretary of State feature information about

HB 282’s requirements on AlabamaVotes.gov. See, e.g., Georgia, 892 F. Supp. 2d at

1380. The current instructions on the website only tell voters that they are ineligible

if they have been convicted of a “disqualifying felony,” without any guidance

regarding the disqualifying convictions under HB 282.

      Third, Plaintiffs request that the Court order Defendants to engage in a robust

voter education program akin to the ones ordered in the above-cited cases. That

program should include, at minimum, (1) notice of HB 282’s requirements via daily


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newspapers of general circulation in the State, radio, and television; and (2)

development and dissemination of educational materials for registrars and

community organizations to use. Id.

      Finally, Defendant Merrill must provide immediate and mandatory training to

local registrars regarding the requirements of HB 282. For decades, local registrars—

who are not required to have any legal training, Ala. Code § 17-3-2(a)—have been left

to their own devices in enforcing Section 177’s “moral turpitude” provision. As

Secretary of State, Defendant Merrill is the State’s chief elections official and is

charged with “provid[ing] uniform guidance for election activities.” Ala. Code § 17-1-

3. Absent immediate guidance and training of the local registrars, the risk of

continued haphazard and arbitrary disenfranchisement in this upcoming election is

high. Therefore, relief requiring immediate guidance and training is appropriate. See

Georgia, 892 F. Supp. 2d at 1379 (requiring training of county election officials);

Order Regarding Agreed Interim Plan for Elections, Veasey v. Abbott, No. 2:13-CV-

00193 at *3 (S.D. Tex. Aug. 10, 2016) (requiring a “detailed election official training

program for the November 2016 general election”).

 III. The Balance of the Equities and Public Interest Weigh In Favor of
      the Requested Relief.

      Plaintiffs satisfy the remaining requirements for a preliminary injunction:

Plaintiffs face irreparable harm absent relief, and the balance of equities favors relief,

as does the public interest.

      Eligible HB 282 voters plainly face irreparable injury if the State does not take

these commonsense steps to implement HB 282, correct recent unlawful voter

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registration purges and application denials, and educate voters about HB 282’s

eligibility requirements. The right to vote is fundamental and denial or abridgment

of the right to vote is always an irreparable injury. See, e.g., Harris v. Graddick, 593

F. Supp. 128, 135 (M.D. Ala. 1984) (“[A]ny illegal impediment to the right to vote, as

guaranteed by the U.S. Constitution or statute, would by its nature be an irreparable

injury.” (citing Reynolds v. Sims, 377 U.S. 533, 585 (1964)). Once voters lose the

opportunity to participate in an election, “there can be no do-over and no redress.”

League of Women Voters, 769 F.3d at 247. Without these steps, the passage of HB 282

will be largely an empty gesture because eligible voters previously treated as

ineligible under the pre-HB 282 unconstitutional system will have no way to know

about HB 282. See Alabama, 857 F. Supp. 2d at 1243.

      Meanwhile, Defendants will not be harmed by this relief. It falls squarely

within the Secretary of State’s responsibilities to update the voter registration forms,

AlabamaVotes.gov, and all other voter education materials, both to reflect current

Alabama law and to provide registrars with “uniform guidance” on the administration

of the Election Code. See Ala. Code § 17-1-3. While individual notice and

reinstatement will require some minor dedication of state resources, the Secretary of

State already has all the necessary records to complete this task. Ultimately, “the

potential hardships that [Alabama] might experience are minor when balanced

against the right to vote, a right that is essential to an effective democracy.” Georgia,

892 F. Supp. 2d at 1377; see also N.C. NAACP, 2016 WL 6581284 at *10 (concluding

that reinstatement of voters would impose a “minimal” burden on the state and that


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“any burden imposed by virtue of these likely violations must be borne by the State

and the counties and not by the wrongfully purged voter”).

      Finally, the public interest weighs heavily in favor of the requested relief.

Plaintiffs do not ask this Court to enjoin any state law at this time and seek only full

implementation of governing Alabama law. Further, “‘[f]avoring enfranchisement

and ensuring that qualified voters exercise their right to vote is always in the public

interest.” Id. at 11 (quoting Fish v. Kobach, 189 F. Supp. 3d 1107, 1151-52 (D. Kan.

2016)).

                                   CONCLUSION

      For the reasons discussed above, Plaintiffs respectfully request the Court to

grant their motion for a preliminary injunction and order the requested relief outlined

above. Plaintiffs attach a proposed order for the Court to consider.



                               June 30, 2017

                               Respectfully Submitted,


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                           CERTIFICATE OF SERVICE
       I hereby certify that, on June 30, 2017, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send notification of such

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